                    IN THE UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF TENNESSEE
                             NASHVILLE DIVISION

MARTEZ WILLIAMS,                           )
                                           )
       Plaintiff,                          )
                                           )
v.                                         )       Case No. 3:16-cv-03134
                                           )
GOLD PLAZA PARTNERSHIP                     )
                                           )       Judge Waverly D. Crenshaw
                                           )       Magistrate Judge Alistair Newbern
                                           )
       Defendant.                          )


            JOINT STIPULATION OF DISMISSAL WITH PREJUDICE


       COMES NOW MARTEZ WILLIAMS (herein “Plaintiff”), GOLD PLAZA

PARTNERSHIP (herein “Defendant”) (collectively the “Parties”) and state that this matter

has been resolved. Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), the undersigned counsel

stipulate that this action be dismissed in its entirety with prejudice, with each party to bear

its own costs.




                           [SIGNATURE PAGE TO FOLLOW]




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       SEEN AND AGREED this the 3rd day of October, 2017.




/s/Todd G. Cole __________          /s/Mary Taylor Gallagher (per
Todd G. Cole (No. 031078)           consent)
Advocacy Law Group                  Christopher Cardwell, Esq.
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                                        CERTIFICATE OF SERVICE
              I HEREBY CERTIFY that a true and correct copy of the foregoing document has been
       filed electronically using the CM/ECF/system and was served electronically upon the upon all
       parties entered upon the Court via the Court’s electronic filing system and sent via USPS to:

                                                   Christopher Cardwell
                                                  Mary Taylor Gallagher
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                                                                     /s/Todd G. Cole __________
                                                                     Todd G. Cole, Esq.




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